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                                                                                      May 02, 2022
                                                                                  CLERK, U.S. DISTRICT COURT
                                                                                  WESTERN DISTRICT OF TEXAS
                            UNITED STATES DISTRICT COURT                                                  JU
                                                                             BY: ________________________________
                             WESTERN DISTRICT OF TEXAS                                               DEPUTY
                                SAN ANTONIO DIVISION


UNITED STATES OF AMERICA,                    '
                                             '
v.                                           '      Case No. SA-17-CR-0965(02)-OLG
                                             '
                                             §
JESSICA LYNN MCKOWN                          §

     ORDER HOLDING MOTION TO REVOKE SUPERVISED RELEASE IN ABEYANCE

       On the 28th day of April, 2022 came on to be considered the United States= motion to

revoke the defendant's supervised release [doc.#77]. At the request of counsel, the Court will

hold this matter in abeyance and order the defendant into a 90-day residential substance abuse

treatment program.

       IT IS THEREFORE THE ORDER of this Court that the defendant shall remain in the

custody of the United States Marshal Service until a bed space is available at the Alpha House

residential substance abuse treatment program for a period of 90-days.

       IT IS FURTHER ORDERED that once the defendant completes the substance abuse

treatment program the Court will revisit the motion to revoke the defendant’s supervised release

to determine if the defendant will be continued on supervised release.

       SO ORDERED.

       Signed this   2nd   day of May, 2022.




                                             ORLANDO L. GARCIA
                                             Chief United States District Judge
